
878 A.2d 1186 (2005)
In re Albert O. STANCIL, Appellant, M11520-02.
Joqucain M. Greene, Appellant, M13714-02
v.
United States, Appellee.
Nos. 03-CM-444, 03-CM-605.
District of Columbia Court of Appeals.
June 29, 2005.
Before: WAGNER, Chief Judge; TERRY, *SCHWELB, FARRELL, RUIZ, *REID, GLICKMAN, and Washington, Associate Judges; *KERN, *1187 Senior Judge.[1]
PER CURIAM.

ORDER
On consideration of appellant's petition for rehearing or rehearing en banc in appeal no. 03-CM-444, the motion of appellee to file the lodged over-length opposition to petition, the brief of amicus curiae, Public Defender Service, in support of petition, and the letter from amicus curiae pursuant to Rule 28(k), it is
ORDERED that the motion of appellee to file the lodged over-length opposition in appeal no. 03-CM-444 is granted and the Clerk is directed to file the lodged opposition to petition. It is
FURTHER ORDERED by the merits division* that the petition for rehearing in appeal no. 03-CM-444 is denied; and it appearing that the majority of the judges of this court has voted to grant the petition for rehearing en banc, it is
FURTHER ORDERED that appellant's petition for rehearing en banc in appeal no. 03-CM-444 is granted. It is
FURTHER ORDERED, sua sponte, that appeal no. 03-CM-605, which was argued before a division on June 7, 2005, is hereby consolidated with appeal no. 03-CM-444, for argument and the Clerk shall schedule these matters for argument in tandem before the court sitting en banc for the month of October. It is
FURTHER ORDERED that all parties and amicus curiae counsel shall simultaneously file new briefs on or before August 22, 2005. Each party, and amicus curiae counsel shall file responsive briefs on or before September 12, 2005. Each party, and amicus curiae counsel shall file ten copies of their briefs. These new briefs shall be specifically designed for consideration by and addressed to the en banc court and shall supersede all briefs previously filed in these appeals. Further, the parties and amicus curiae counsel shall hand-serve their briefs, unless other arrangements for service are agreed upon by a party or amicus curiae counsel to be served. It is
FURTHER ORDERED that any requests for extension of time will be looked upon with disfavor and will be granted only upon a showing of good cause.
NOTES
[1]  Senior Judges Kern and Nebeker were members of the divisions assigned to consider Stancil and Greene, respectively. They will, therefore, pursuant to D.C.Code § 11-705(d), participate in the en banc consideration of the cases as to which they were members of the division. Senior Judge Kern is a member of the division that denied rehearing, as reflected herein.

